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                                                               October 29, 2020

Via First Class and Electronic Mail

Glancy, Prongay, & Murray LLP
Attn: Benjamin I. Sachs-Michaels, Esq.
1925 Century Park East, Suite 2100
Los Angeles, California 90067

           Re:      Matthew Wallace: Demand to Take Legal Action Pursuant to Utah Law

Dear Mr. Sachs-Michaels:

        We represent Co-Diagnostics, Inc. ( Co-Diagnostics                          C      a    ) with respect to
the above-       c d d a d       Ma         Wa ac ( Wa ac )                          a            a
C     a        c a dd c        .

        W           a       d a d                a          a      C -D a         c      c    a d
directors committed non-exculpable breaches of fiduciary duties or other violations of applicable
 a        ad     c     c          a a             a    a                               C     a ,
dated October 19, 2020. However, we note that you have not outlined any potential breaches of
fiduciary duties or other violations of law which we may endeavor to investigate.

        With respect to the items you have outlined, we first note that you have mischaracterized
statements made by Dr. Brent Satterfield regarding the accuracy of the Co-Diagnostics COVID-
19 test, as set forth a A        30, 2020 Sa La T b            a c          d This is a Potential
Public Health Disaster; COVID-19 Results From TestUtah.com Are Raising Questions.1 We
disagree with your characterization that the C     a          c         d        a b        100%
acc a . Instead, Dr. Satterfield reported on the results of outside evaluations       C     a
COVID-19        , a       a            c db           99.52% a d 100%         a a       c d c d
by the FDA a d E             a d a [ ] a             a ba a a                       . I       a
information to suggest that the evaluations conducted by the FDA and in Europe did not yield
      c c          ,a         da    D . Sa       d     c a          a e, we invite you to provide
us with such information.

        Likewise, you have, as we believe, mistakenly raised concerns with certain statements
made in a May 1, 2020 Press Release entitled Co-Diagnostics, Inc. Releases COVID-19 Test
Performance Data: Consistently Demonstrates 100% Sensitivity and 100% Specificity Across
Independent Evaluations (     P    R a )              D . Sa      d       d        d     d
laboratory evaluations of Co-Diagnostics COVID-19 test, each of which demonstrated 100%
sensitivity and 100% specificity.2 You will note that these test results are not conclusions

1
    A true and correct copy of the Article is annexed hereto as E hibit A.
2
    A true and correct copy of the Press Release is annexed hereto as E hibit B.
                            Manhattan Office: 55 West 39th Street, 18th Floor, New York, NY 10018
                      New York City | New Jersey | Long Island | Beverly Hills | Florida
                                                  Website: www.cmfllp.com
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attributable to Dr. Satterfield, nor do his statements consist of any more than an announcement of
said test resu . T             ,       a           a C -D a          c       c   d b d d        a d
ca     d                100% acc a                     correct. By the Press Release, Co-Diagnostics
claimed nothing more than that it achieved the results as specified in the independent evaluations,
a claim which is unequivocally and undeniably true. For your reference, these evaluations were
linked in the Press Release.

        Therefore, with respect to your demand that we investigate whether Co-D a                 c
officers and directors breached some unspecified fiduciary duty or other violation of law with
respect to the allegations you raised, as set forth above, your mischaracterization of the attributed
statements creates a false premise. Based on our investigation, the actual statements made are and
were true and correct at the time they were made.

        Y a a             a    a          b          c      B add         a a d               da d
  d     d                                 d                  with respect to the allegations raised
therein. Again, we refer you to all of the foregoing regarding those allegations actually raised.

        In addition, you have failed to raise any inference, reasonable or otherwise, as to any
concern regarding the independence of any of the officers or directors of the Company. Indeed,
your sole complaint rests on the forced mischaracterization of the statements by Dr. Satterfield.
Please allow us to be very clear, we will not conduct an investigation into unspecified officers or
directors regarding unspecified allegations of purported lack of disinterestedness or independence,
nor will we make any guesses or presumptions as to any unspecified complaints.

       As such, we consider the matter closed.

        As a final note, you have in conclusory fashion alleged that the unspecified actions and
omissions by unspecified officers or directors has inflicted harm upon the Company. While we
note that you have failed to set forth any actions, omissions, officers, directors, or harm to the
company whatsoever, you should note that under current management, the Company has sold more
than 7,000,000 COVID-19 tests and increased the net equity thirtyfold since the send of 2019. As
such, your assertion of harm done is rejected as frivolous and we will take no further action.

                                                      Sincerely,

                                                      /s/ Christopher P. Milazzo, Esq.

cc: Client
